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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )      Case No. 11-cr-40045-06-JAR
                                                      )
GILDARDO CABELLO-ALFARO,                              )
                                                      )
                       Defendant.                     )
                                                      )

                                 MEMORANDUM AND ORDER

       This case comes before the Court on Defendant Cabello-Alfaro’s Motion to Be Admitted

to Bail Pending Trial (Doc. 70). Although Defendant is represented by counsel, Defendant filed

the motion pro se. Defendant argues that due process mandates that he be immediately released

from pretrial detention. The Government responded, arguing that Defendant’s motion should be

denied because he is represented by counsel and is thus not entitled to file a pro se motion. The

Government also argues that Defendant has not provided any new information that would require

a change in the original determination that pretrial detention was appropriate.

       At the January 5, 2012 hearing on the motion, Defendant’s counsel explained that

Defendant asked her to file the motion but she did not believe it was appropriate under the law,

given that no change in Defendant’s circumstances had occurred since the original detention

hearing. His counsel further explained that Defendant believes he should be released because he

maintains his innocence. The Government reasserted the arguments stated in its brief and further

argued that if the motion is considered an appeal of the original detention order, it should be

denied because it is untimely.

       Although Defendant is represented by counsel and should thus file motions through
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counsel,1 the Court will consider the merits of Defendant’s pro se motion. The Court has

considered the parties’ briefs and the arguments presented at the January 5, 2012 hearing on this

motion and is now prepared to rule. The Court denies Defendant’s motion on the merits. First,

if Defendant seeks reconsideration of the original detention order issued on June 10, 2011, his

motion is untimely because it was not filed as required within 14 days.2 Second, if Defendant

seeks to reopen the determination for pretrial detention, Defendant has failed to meet the burden

required under 18 U.S.C. § 3142(f)(2)(B). Defendant has offered no new information “that has a

material bearing on the issue [of] whether there are conditions of release that will reasonably

assure the appearance of [Defendant] as required and the safety of any other person and the

community.”3 Defendant is still subject to U.S. Immigration and Customs Enforcement

Detainer, and he has not offered any evidence to overcome the presumption, under 18 U.S.C. §

3142(e)(3), that pretrial detention is appropriate. Thus, the Court denies Defendant’s motion for

release.

        IT IS THEREFORE ORDERED BY THE COURT that Defendant’s Motion to Be

Admitted to Bail Pending Trial (Doc. 70) is DENIED.

        IT IS SO ORDERED.

Dated: January 5, 2012
                                                               S/ Julie A. Robinson
                                                              JULIE A. ROBINSON
                                                              UNITED STATES DISTRICT JUDGE




        1
          United States v. McKinley, 58 F.3d 1475, 1480 (10th Cir. 1995) (citing United States v. Bennett, 539 F.2d
45, 49 (10th Cir. 1976)).
        2
           See D. Kan. Rule 7.3.
        3
           18 U.S.C. § 3142 (f)(2)(B).
